211 F.2d 579
    UNITED STATES of America, Appellant,v.James J. CARROLL.
    No. 15006.
    United States Court of Appeals Eighth Circuit.
    March 3, 1954.
    
      Appeal from the United States District Court, Western District of Missouri.
      Edward L. Scheufler, U. S. Atty., and Horace Warren Kimbrell, Asst. U. S. Atty., Kansas City, Mo., for appellant.
      Morris A. Shenker, St. Louis, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court, D.C., 117 F.Supp. 209, dismissed, on motion of appellant.
    
    